          Case 3:21-cv-02606-CRB Document 20 Filed 07/22/21 Page 1 of 2



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7
8                         UNITED STATES DISTRICT COURT
9                        NORTHERN DISTRICT OF CALIFORNIA
10
11 TRUSTLABS, INC, a Delaware               Case No. 3:21-cv-02606-CRB
   Corporation,
12                                          DEFENDANT DANIEL JAIYONG AN’S
                 Plaintiff                  CERTIFICATION OF INTERESTED
13               ,                          ENTITIES OR PERSONS PURSUANT TO
                                            CIV. L.R. 3-15
14                  v.
15
     DANIEL JAIYONG AN,
16
17                  Defendant.

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31               DEFENDANT’S CERTIFICATION OF INTERESTED ENTITIES OR PERSONS
           Case 3:21-cv-02606-CRB Document 20 Filed 07/22/21 Page 2 of 2



1                CERTIFICATION OF INTERESTED ENTITIES OR PERSONS
2                                            (Civ. L.R. 3-15)
3        Pursuant to Civil L.R. 3-15, Defendant DANIEL JAIYONG AN certifies that as of
4 this date, other than the named parties, there are no interested persons, associations of
5 persons, firms, partnerships, corporations or other entities to report.
6
7 Dated: July 22, 2021              NOVIAN & NOVIAN, LLP
                                    Attorneys at Law
8
9                                   By:        /s/ Alexander Brendon Gura
                                           FARHAD NOVIAN
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                                           ALEXANDER BRENDON GURA
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12                                         Attorneys for Defendant Daniel Jaiyong An

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31                 DEFENDANT’S CERTIFICATION OF INTERESTED ENTITIES OR PERSONS
